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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND



 VELMAM. MELTON,

       Plaintiff,

       V.
                                                      Civil Action No. TDC-19-0209

SELECT PORTFOLIO SERVICING,INC.,

       Defendant.




                                         ORDER


      For the reasons stated during the December 1, 2020 Case Management Conference, it is

hereby ORDERED that:

      1.     Plaintiff is granted leave to file the proposed Motion for Summary Judgment. The

              Motion will be deemed timely iffiled by Monday,January 4,2021.

      2.     Defendant is granted leave to file the proposed Cross-Motion for Summary

             Judgment. The Cross-Motion and Opposition to Plaintiffs Motion will be deemed

             timely iffiled by Wednesday,February 3,2021.

      3.     Plaintiffs Opposition to the Cross-Motion and Reply to the Motion will deemed

             timely iffiled by Wednesday,February 24,2021.

      4.     Defendant's Reply to the Cross-Motion will be deemed timely if filed by

             Wednesday, March 10,2021.




Date: December ♦•2020
                                                 THEODORE D. CHUANG.
                                                 United States District Judg^
